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BEFORE: JOAN M. AZRACK                                         DATE: 12/13/2019
UNITED STATES DISTRICT JUDGE                                   TIME: 11:00 AM (30 min)

                     CRIMINAL CAUSE FOR STATUS CONFERENCE
                                                                                    FILED
DOCKET NO. 18-cr-292 (JMA)                                                          CLERK

DEFENDANT: Naseem Bokhari               DEF. #: 4                      12/13/2019 12:44 pm
☒ Present ☐ Not present     ☐ Custody ☒Bail                               U.S. DISTRICT COURT
DEFENSE COUNSEL: Murray Singer                                       EASTERN DISTRICT OF NEW YORK
☐ Federal Defender    ☒ CJA       ☐ Retained                              LONG ISLAND OFFICE

DEFENDANT: Enayatullah Khwaja                  DEF. #: 5
☒ Present ☐ Not present      ☐ Custody ☒Bail
DEFENSE COUNSEL: Marc Agnifilo, Josh Kirshner
☐ Federal Defender     ☐ CJA        ☒ Retained


AUSA: Charles Kelly and Burt Ryan

INTERPRETER:

PROBATION OFFICER/PRETRIAL:

COURT REPORTER: Paul Lombardi                    COURTROOM DEPUTY: LMP

☒ Case Called.            ☒ Counsel present for all sides.
☐ Initial Appearance and Arraignment held on the Indictment.
☐ Defendants waive public reading of the Superseding Indictment and enters a plea of
not guilty.
☒ Waiver of speedy trial executed; time excluded from 12/13/2019 through 4/23/2020.
☐ Order setting conditions of release and bond entered.
☐ Permanent order of detention entered.
☐ Temporary order of detention entered.
       ☐ Detention hearing scheduled for .
☐ Bail modification hearing held. Disposition:
☒ Next court appearance scheduled on 4/23/2020 at 11:00 AM.

Defendant     ☐   Released on Bond        ☐    Remains in Custody.

OTHER: Defense to file motions by 2/28/2020; responses due 3/27/2020; replies due
4/10/2020. Jury selection and trial scheduled for 9/21/2020 at 9:30 AM.
